
PER CURIAM.
Based on the authority of Litwinski v. Weitzer Country Homes, Inc., 711 So.2d 1390 (Fla. 3d DCA 1998), we reverse the trial court’s orders vacating the extension of time for service of process and dismissing the plaintiffs’ ease for failure to timely effectuate service of process. We find that the plaintiffs asserted reasonable grounds for the extension of time before the 120 days for service had expired, Litwinski, 711 So.2d at 1392; Fla. R. Civ. P. 1.090(b)(1), and note that the trial court did not have the benefit of Litunnski at the time of its decision.
Reversed and remanded for further proceedings consistent with this opinion.
